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            EXHIBIT B
Case 1:21-cv-03329-CBA-RML Document 35-3 Filed 09/22/21 Page 2 of 2 PageID #: 1529




                                                        September 10, 2021

   VIA CERTIFIED MAIL & EMAIL

   Robert A. Baffert
   Bob Baffert Racing Stables, Inc.
   4244 Woodleigh Lane
   La Catiada Flintridge, CA 91011
   Email: dubaibob@aol.com

          Re: Notice of Hearing

   Dear Mr. Baffert:

          This letter is to advise you that the New York Racing Association, Inc, will conduct a
   hearing to investigate the charges against you set forth in the attached Statement of Charges. You
   are hereby directed to appear via video conference on September 27, 2021 at 3:00PM (Eastern)
   for a preliminary hearing conference before the Hearing Officer, Hon. 0. Peter Sherwood, to
   answer these charges.

           You must serve a written answer to the Statement of Charges within five (5) business days
   after service of this notice. The failure to timely serve an answer shall be deemed an admission to
   the charges set forth in the attached Statement of Charges. Please be further advised that if you do
   not appear at the hearing and have not been granted an adjournment, then a decision on the charges,
   including by default, may be made by the Hearing Officer.

            Please note that at the hearing, you will have the right to be represented by yourself, a
   licensed attorney, or a duly authorized representative. Additionally, you will have the right to
   testify, produce witnesses, present documentary evidence, and examine opposing witnesses and
   evidence. The Hearing Officer shall have the authority to limit the introduction of irrelevant
   evidence. Please be advised that the hearing will be conducted pursuant to the attached Hearing
   Rules and Procedures.

                                                        Sincerely,

                                                       -144:
                                                        Melanie Sims Frank
                                                        Deputy General Counsel

   Ends.
   cc:   W. Craig Robertson III, Esq. (via email)
         Henry M. Greenberg, Esq. (via email)
         Hon. 0. Peter Sherwood (via email)
                                                                                                   EXHIBIT
